855 F.2d 1
    UNITED STATES of America, Appellee,v.Dale Scott HUNNEWELL, Defendant, Appellant.
    Misc. No. 88-8050.
    United States Court of Appeals,First Circuit.
    Submitted July 19, 1988.Decided Aug. 22, 1988.
    
      Before CAMPBELL, Chief Judge, BOWNES and TORRUELLA, Circuit Judges.
    
    MEMORANDUM AND ORDER
    
      1
      Appellant's "petition for permission to appeal" is denied.  A district court's interlocutory denial of a motion to dismiss for violation of the Interstate Agreement on Detainers Act, 18 U.S.C.App. Sec. 1 et seq., is not an appealable order.   United States v. Cejas, 817 F.2d 595, 596 (9th Cir.1987).  Such an order is not "effectively unreviewable on appeal from a final judgment" under the third prong of the three-prong test for the "collateral order" exception to the final judgment rule restated in Flanagan v. United States, 465 U.S. 259, 265, 104 S.Ct. 1051, 1055, 79 L.Ed.2d 288 (1984).  "Because of the compelling interest in prompt trials, the Court has interpreted the requirements of the collateral-order exception to the final judgment rule with the utmost strictness in criminal cases."    Id.
    
    
      2
      The petition is denied.
    
    